Case 2:05-cr-20204-.]DB Document 20 Filed 06/15/05 Page 1 of 2 Page|D 43

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"‘~” - :J.C;.

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IN THE UNlTED STATES DISTRICT COURT
FOR TI-[E WESTERN DISTRICT OF TENNESSEE

 

 

 

WESTERN DIVISION
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§ "lwfil"$ :":;T §§ D¢iST'r,CF
UNITED STATES OF AMERICA ` ' Pf'» leF’fi-*.-ii$
v.
CHARLES LovE 05¢r20204-2-B /
05c1'20205-2-Ml
ORDER ON ARRAIGNMENT
This cause came to be heard on @AM __a_ é,§; 2_6&€ the United States Attorney
for this district appeared on behalf of the g emment, and the defendant appeared in person and With
counsel'

NAME éA/&g_/ %W who is Retained!Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions Shal] be filed Within thirty (30) days from the date hereof unleSS, for good cause
Shown to a District Judge, such period is extended.

l/=:l:lie_c?fe:ndant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a State prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), iS remanded to the CuStody

of the U.S. Marshal. _,._._--_-,
\M;Q&a___.

UNITED STATES MAGISTRATE ]UDGE

CHARGES -18:1951
INTERFERENCE WITH COMMERCE BY THREAT OR VIOLENCE

Attorney assigned to Case: T. DiSCenza

Age: `§:5! We docket § _,
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mem €“ 32 l FnCtP 0
and 0

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20204 Was distributed by faX, mail, or direct printing on
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Bryan H. Hoss

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U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

